The court incorporates by reference in this paragraph and adopts as the findings and orders of this court
the document set forth below. This document was signed electronically on June 15, 2022, which may be
different from its entry on the record.




IT IS SO ORDERED.

Dated: June 15, 2022




                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO

 In re:                                                    )             Chapter 7
                                                           )
 MATTHEW M. MOTIL,                                         )             Case No. 22-10571
                                                           )
          Debtor.                                          )
                                                           )             Judge Arthur I. Harris
                                                           )
 RAY CATTANEO,                                             )
     Plaintiff.                                            )             Adversary Proceeding
                                                           )             No. 22-1032
 v.                                                        )
                                                           )             PRETRIAL MINUTES &
 MATTHEW M. MOTIL,                                         )             ORDER
     Defendant.                                            )


          APPEARANCES BY:                     E. Neuman, for plaintiff
                                              T. Coffey, for defendant

          On June 14, 2022, the Court held a pretrial conference which was adjourned

to 1:30 P.M. on August 16, 2022. The Court also adjourns pending motions for

relief from stay in the main bankruptcy case (Case No. 22-10571, Docket

Nos. 25, 31, 51) to 1:30 P.M. on August 16, 2022. The bankruptcy stay remains




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in effect as to actions against the debtor including those pending in state court.

The bankruptcy stay does not stay pending actions against nondebtor entities.

      IT IS SO ORDERED.




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